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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
JUSTO ENRIQUE INGA, on behalf of himself and
others similarly situated,

                               Plaintiff,
                                                           CIVIL ACTION NO.: 20 Civ. 909 (ALC) (SLC)
        against


                                                                             ORDER
NESMA FOOD CORP. d/b/a BIG ARC CHICKEN, et
al.,

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

        On October 6, 2020, the Court granted defense counsel Joey Tsai’s Letter-Motion (ECF

No. 27) to Withdraw as counsel for all Defendants. (ECF No. 31). The Court ordered that by

Thursday, November 5, 2020, the following was to take place:

        1) Counsel for Defendant Nesama Food Corp. d/b/a Big Arc Chicken shall file a notice of

            appearance; and

        2) The individual defendants, Mohammed El Hattab and Abdellatif Mahmoud, shall

            notify the Court whether new counsel will be appearing on their behalf or whether

            they will proceed in this litigation pro se.

         (ECF No. 31). The Court also warned that “[f]ailure to respond to this Court Order may

lead to entry of a certificate of default and a default judgment against Defendants.” (Id.) (quoting

Fed. R. Civ. P. 55(a)).

         Defendants have failed to comply with the Court’s order. Accordingly, the Court extends

�for a final time the above deadlines until Thursday, November 19, 2020. The Court again
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reminds the parties that the failure to respond to this order may lead to the entry of a certificate

of default and a default judgment against Defendants. See Fed. R. Civ. P. 55(a).


Dated:         New York, New York
               November 6, 2020




                                                             SO ORDERED:



                                                     _________________________
                                                     SARAH L. CAVE
                                                     United States Magistrate Judge




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